Case 2:22-cv-03659-AB-RAO Document 14 Filed 07/08/22 Page 1 of 2 Page ID #:69




  1
      STEPHEN M. LOBBIN
      sml@smlavvocati.com
  2   SML AVVOCATI P.C.
  3
      888 Prospect Street, Suite 200
      San Diego, California 92037
  4   (949) 636-1391 (Phone)
  5
      Attorney(s) for Rothschild Broadcast Distribution Systems, LLC
  6

  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9
       ROTHSCHILD BROADCAST           §            Case No: 2:22-cv-03659-AB-RAO
 10    DISTRIBUTION SYSTEMS, LLC §
                                      §
 11
           Plaintiff,                 §            PATENT CASE
 12                                   §
      vs.                             §
 13
                                      §
 14   SWANN COMMUNICATIONS            §
      USA, INC.,                      §            PLAINTIFF’S NOTICE OF
 15
                                      §            VOLUNTARY DISMISSAL
 16        Defendant.                 §            WITHOUT PREJUDICE
      ________________________________§
 17

 18
            Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or
 19
      “RBDS”) files this Notice of Voluntary Dismissal Without Prejudice pursuant to
 20
      Federal Rule of Civil Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an
 21
      action may be dismissed by the plaintiff without order of court by filing a notice of
 22
      dismissal at any time before service by the adverse party of an answer. Accordingly,
 23
      Plaintiff hereby voluntarily dismisses this action against Defendant Swann
 24
      Communications USA, Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with
 25
      each party to bear its own fees and costs.
 26

 27

 28

                                                1
                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
Case 2:22-cv-03659-AB-RAO Document 14 Filed 07/08/22 Page 2 of 2 Page ID #:70




  1   Dated: July 8, 2022                    Respectfully submitted,
  2
                                             /s/Stephen M. Lobbin
  3                                          Stephen M. Lobbin
  4
                                             sml@smlavvocati.com
                                             SML AVVOCATI P.C.
  5                                          888 Prospect Street, Suite 200
  6                                          San Diego, California 92037
                                             (949) 636-1391 (Phone)
  7

  8                                          Attorney(s) for Plaintiff

  9                             CERTIFICATE OF SERVICE
 10
             I hereby certify that on July 8, 2022, I electronically transmitted the foregoing
 11   document using the CM/ECF system for filing, which will transmit the document
 12   electronically to all registered participants as identified on the Notice of Electronic
      Filing, and paper copies have been served on those indicated as non-registered
 13   participants.
 14                                           /s/ Stephen M. Lobbin
                                              Stephen M. Lobbin
 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                                2
                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
